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                            THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE
                                     Electronically Filed

  SISTERS FOR LIFE, INC., et al.,                                                         PLAINTIFFS

  v.                                                                     Case No. 3:21-cv-00367-RGJ

  LOUISVILLE/JEFFERSON COUNTY
  METRO GOVERNMENT, et al.,                                                            DEFENDANTS

                              PLAINTIFFS’ RESPONSE TO NOTICE

          On July 31, 2024, the Court informed the parties that it may (1) grant summary judgment

  for a non-movant; (2) grant the motion on grounds not raised by a party; and/or (3) consider

  summary judgment on its own after identifying for the parties material facts that may not be

  genuinely in dispute, all pursuant to FRCP 56(f). (Doc. 155).

          In light of the extensive briefing in this matter, it is unclear to Plaintiffs what grounds, not

  raised or briefed already, that could be the basis of such a determination. To the extent that the

  Court contemplates determining this matter in favor of a nonmoving party, on grounds not

  already raised in the briefing of the parties, Plaintiffs should, as a matter of due process, have an

  opportunity to address those grounds. Consequently, Plaintiffs object and submit that the order

  in question (Doc. 155), which does not identify any alternative grounds, is not sufficient notice to

  provide Plaintiffs a basis to muster evidence or provide a submission for a determination of this

  matter on grounds not already briefed by the parties. Smith v. Perkins Bd. of Educ., 708 F.3d

  821, 830 (6th Cir. 2013) (noting in similar circumstances that “Plaintiff could not have been

  aware that summary judgment would be entered against her on grounds that had not been raised

  by either party.”).




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                                                               Respectfully submitted,

                                                               /s/ Christopher Wiest___________
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                                   CERTIFICATE OF SERVICE
  I certify that I have sent a copy of the foregoing to all counsel of record via filing via CM/ECF,
  this 8 day of August, 2024.
                                                                 /s/ Christopher Wiest___________
                                                                 Christopher Wiest (KBA 90725)




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